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                           UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF MICHIGAN
                                SOUTHERN DIVISION


Jacqueline Taylor, et al.,                Case No. 4:20‐cv‐11860

Plaintiffs,                               Hon. Denise Page Hood
                                          Mag. Anthony P. Patti
v.

City of Detroit, et al.,

Defendants.


Alice B. Jennings                         Charles N. Raimi
Edwards & Jennings                        James N. Noseda
Attorney for plaintiffs                   City of Detroit law department
65 Cadillac Square, Suite 2710            and attorneys for defendants
Detroit, MI 48226                         City of Detroit, Mayor Michael Duggan
(313) 961‐5000                            & Gary Brown (“City defendants”)
ajennings@edwardsjennings.com             Two Woodward Avenue
                                          Detroit, Michigan 48226
Coty Montag                               (313) 224‐4550
Jason Paul Bailey                         raimic@detroitmi.gov
Attorney for plaintiffs                   nosej@detroitmi.gov
NAACP Legal Defense & Educational
Fund, Inc.
700 14th Street NW, Suite 600             STIPULATED ORDER TO EXTEND TIME
Washington, DC 20005                      FOR FILING CITY DEFENDANTS’ BRIEF
(202) 682‐1300                            IN OPPOSITION TO PLAINTIFFS’
cmontag@naacpldf.org                      MOTION FOR A PRELIMINARY
jbailey@naacpldf.org                      INJUNCTION


December 21, 2022

Daniel S. Korobkin
Mark P. Fancher
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ACLU Fund of Michigan
Attorney for plaintiffs
2966 Woodward Ave.
Detroit, MI 48201
(313) 578‐6800
dkorobkin@aclumich.org
mfancher@aclumich.org

Kurt Thornbladh
Thornbladh Law Group PLLC
Attorney for plaintiffs
Schaefer Plaza, 7301 Schaefer
Dearborn, MI 48126
(313) 943‐2678
thornbladh.kurt3@gmail.com

Lorray S.C. Brown
Michigan Poverty Law Program
Attorney for plaintiffs
15 South Washington Street
Ypsilanti, MI 48197
(734) 998‐6100
lorrayb@mplp.org

Monique Lin‐Luse
NAACP Legal Defense & Educational
Fund, Inc.
Attorney for plaintiffs
40 Rector Street, Ste 5th Floor
New York, NY 10006
(212) 965‐2200
mlinluse@naacpldf.org




Melissa Z. El Johnson
Melissa Z. El, P.C.
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500 Griswold Suite 2410
Detroit, MI 48226
(313) 963‐1049
eljohnsonlaw@gmail.com


    STIPULATED ORDER TO EXTEND TIME FOR FILING CITY
DEFENDANTS’ BRIEF IN OPPOSITION TO PLAINTIFFS’ MOTION FOR
                PRELIMINARY INJUNCTION

      On stipulation of the parties, it is hereby ORDERED that the time for filing

the City defendants’ brief in opposition to plaintiffs’ motion for preliminary

injunction is extended from January 2, 2023 to January 4, 2023.

      Dated: December 27, 2022                    s/Denise Page Hood
                                                  United States District Judge


Stipulated to by:

/s/ Mark Fancher
Mark Fancher
Attorney for plaintiffs

/s/ Charles N. Raimi
Attorney for City defendants




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